Case 2:05-cr-20268-.]DB Document 10 Filed 08/10/05 Page 1 of 2 Page|D 10

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05 AUG 10 aH\G= 316

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 
  

 

 

WESTERN DIVISION
1 "'_ T_`;'.j;§LD __ v
C.LE;D ‘ ` l §'l'CT CUURL
UNITED sTATES oF AMERlCA ' 111-1111j 11 -1,.=1§;1..»'1PH!S
V. 05-20268-Ml
CHARLES FRANKLIN GRUBB
ORDER ON ARRAIGNMENT
This cause came to be heard o /O 200 , the United States Attorney
for this district appeared on behalf of the gov ent, and e defendant appeared in person and with
counsel:

NAME 1 who is Retained/Appointed.
2 w 71 ____,

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

AIl motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

{%he defendant, who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

cs.'?z“@,,,, @_

UNITED STATES MAGISTRATE IUDGE

CHARGES: 18:506;
U. S. Attorney assigned to Case: T. Parker

Age:

This document entered on the docket sheet In eomp|!ance rd

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
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Stephen C. Parker

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Honorable J. Breen
US DISTRICT COURT

